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     In the United States Court of Appeals
             for the Ninth Circuit
                          No. 22-15872
     ______________________________________________________

    In re: BARD IVC FILTERS PRODUCT LIABILITY LITIGATION

                            DORIS JONES,
                               Plaintiff,
                                  v.
  C. R. BARD, INC., a New Jersey corporation; BARD PERIPHERAL
VASCULAR, INC., a subsidiary and/or Division of defendant C.R. Bard,
                    Inc., an Arizona corporation,
                       Defendants-Appellees

BABBITT & JOHNSON PA; BARON & BUDD, PC; COMMON BENEFIT
  FEE AND COST COMMITTEE; BEUS GILBERT MCGRODER PLLC;
 BOSSIER & ASSOCIATES PLLC; BRANCH LAW FIRM; BRENES LAW
GROUP, P.C.; DALIMONTE RUEB STOLLER LLP; FARACI LANGE LLP;
                  FARRIS RILEY & PITT LLP,
                         Appellees

                                     v.

  LAW OFFICES OF BEN C. MARTIN; MARTIN BAUGHMAN PLLC,
                      Movants-Appellants
    ______________________________________________________

            On Appeal from the U.S. District Court for the
             District of Arizona, No. 2:15-md-02641-DGC
      (Honorable David G. Campbell, Senior U.S. District Judge)
     ______________________________________________________

                        BRIEF FOR APPELLANTS
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      ______________________________________________________

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                CORPORATE DISCLOSURE STATEMENT

   In accordance with Federal Rule of Appellate Procedure 26.1,

movant/appellant Martin|Baughman, PLLC hereby states that it has no

parent corporations, and no publicly held corporations own 10% or more of

its stock.



                                          Respectfully submitted,


Dated: October 17, 2022                  /s/ Howard J. Bashman
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STATEMENT OF SUBJECT MATTER AND APPELLATE JURISDIC-
TION

   Whether the district court possessed the judicial authority to assess

common benefit fee and costs holdbacks on cases that were never filed in

any court, in cases that were filed in federal court after the In re: Bard IVC

Filters Products Liab. Litig. multidistrict litigation had closed, and in cases

pending in state court is the central issue presented in this appeal. The

movants-appellants in this case assert herein that the district court lacked

the judicial power to order holdbacks in those cases.

   The issue presented herein is already the subject of a circuit split. Compare

In re Genetically Modified Rice Litig., 764 F.3d 864, 873-74 (8th Cir. 2014)

(holding no such jurisdiction exists) with In re Avandia Mktng. Sales Practices,

617 F. App’x 136, 141-44 & n.5 (3d Cir. 2015) (holding that so long as an

attorney representing claimants in an MDL proceeding agreed that

assessments could apply to his state court clients, such assessments could be

enforced against the attorney’s share of his state court clients’ recoveries).

   On May 20, 2022, the U.S. District Court for the District of Arizona issued

an order denying the motion of the Law Offices of Ben C. Martin and the law

firm Martin|Baughman, PLLC to exempt the recoveries of clients who had
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never filed suit in any court, who had filed suit in federal court after the Bard

IVC Filters MDL had closed, and who had filed suit in state court from

common benefit fee and expense assessments due to the MDL court’s lack of

jurisdiction over those cases. ER-43-67.

   On June 6, 2022, movants/appellants the Law Offices of Ben C. Martin

and the law firm Martin|Baughman, PLLC filed a timely notice of appeal

from the district court’s May 20, 2022 order to this Court. ER-168.

   This Court possesses appellate jurisdiction pursuant to 28 U.S.C. §1291.



ISSUE ON APPEAL

   Whether the district court possessed judicial power to assess MDL

common benefit attorneys’ fee and costs holdbacks against cases never filed

in any court, cases filed in federal court after the MDL had closed, and cases

filed in state court, simply because the claimants in these cases were

represented by a law firm that was deemed bound by a participation

agreement, incorporated into an order of the MDL court, providing that fee

and costs assessments would apply to “all un-filed cases, tolled cases,

and/or cases filed in state court in which [the law firm has] a fee interest.”




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STATEMENT OF THE CASE

   A. Relevant Factual History

   The question whether a federal district court presiding over a

multidistrict litigation proceeding has the power to assess so-called

“common benefit” attorneys’ fees and cost holdbacks against cases that were

never filed in any court, were filed and remained pending in state court, or

were filed in federal court after the MDL proceeding closed has gained

renewed urgency within the Ninth Circuit in the aftermath of U.S. District

Judge Vince Chhabria’s recent ruling in In re: Roundup Prods. Liab. Litig., 544

F. Supp. 3d 950 (N.D. Cal. 2021).

   In that decision, Judge Chhabria concluded that it was highly doubtful

whether such MDL fee and costs holdbacks could be assessed against any

cases other than those that were a part of the MDL proceeding itself, even if

the lawyer representing non-MDL claimants also represented other clients

in the MDL proceeding and executed a participation agreement whereby the

lawyer agreed that such holdbacks would apply to the recoveries of all of his

or her clients with claims involving Roundup against Monsanto, whether

those clients had suits in the MDL proceeding or not.




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   Lead counsel in the In re Roundup MDL proceeding have appealed to this

Court from Judge Chhabria’s ruling concerning common benefit fees and

costs holdbacks, and that appeal (pending at No. 21-16228 (9th Cir.)) is fully

briefed and scheduled for oral argument before a three-judge panel of this

Court in Portland, Oregon on October 20, 2022, three days after the due date

for this Brief for Appellants. This Court’s ruling in that appeal may have a

significant impact on the outcome of this appeal.

                                 * * * * *

   The Martin|Baughman, PLLC law firm has represented thousands of

victims of accidents and injuries caused by catastrophic vehicular and

trucking accidents, oil field explosions, medical and hospital negligence,

medical device and pharmaceutical design defects, and personal injuries

caused by negligence and gross negligence. Before that law firm was formed,

many of those same lawyers practiced at the Law Offices of Ben C. Martin.

This brief shall refer to these two entities — the movants/appellants herein

— collectively as BCM.

   BCM has represented a total of 507 clients who sustained personal injuries

as the result of having IVC filters manufactured and marketed by C.R. Bard

implanted into their bodies. ER-122. Two hundred and one of those


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claimants filed lawsuits that were transferred and coordinated for pretrial

proceedings in MDL No. 2641, known as In re: Bard IVC Filters Prod. Liab.

Litig., which had been pending in the U.S. District Court for the District of

Arizona. ER-122.

   BCM also represented another 264 clients who had sustained injuries as

the result of Bard IVC filters but never filed suit against Bard in any court.

ER-122. An additional 41 of BCM’s clients filed suit against Bard in federal

court after the MDL proceeding had closed in May 2019 — when the MDL

court ordered that no new cases could be filed in or transferred to the MDL

proceeding. ER-122. And BCM represented one client who filed suit against

Bard in state court, where that suit remained when it settled. ER-122.

   Early in the In re: Bard IVC Filters Prods. Liab. Litig., on December 18, 2015,

U.S. District Judge David G. Campbell issued Case Management Order 6,

which created a common benefit fund for the reimbursement of attorneys’

fees and costs incurred for the common benefit in that MDL proceeding. ER-

133. CMO 6 established a six percent assessment for attorneys’ fees, which

was to be paid from the attorneys’ fee portion of any recovery against Bard,

and a two percent assessment for costs, which was to be paid from the

claimants’ portion of any recovery against Bard. ER-142, ER-131. The order


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directed Bard to pay these holdback amounts directly into the designated

common fund bank account, so that the holdbacks never passed through the

hands of individual plaintiffs’ counsel or their clients. ER-143.

   CMO 6 included as an exhibit a “Participation Agreement” that counsel

representing claimants against C.R. Bard could sign in order to obtain the

right to access common benefit work product in exchange for agreeing to

have the relevant attorneys’ fees and costs holdbacks assessed against all of

the recoveries that the signer’s clients obtained on their claims against Bard.

ER-146-159. According to that document:

            Counsel who sign this Participation Agreement further agree
            that the assessment shall apply to all un-filed cases, tolled cases,
            and/or cases filed in state court in which they have a fee interest,
            regardless of the size of that fee interest.

ER-149.

   As is common in MDL proceedings, lead counsel designated by the

district court was authorized to conduct discovery pertaining to all

transferred cases, and individual counsel were not permitted to pursue such

case-wide discovery on their own. Thus, counsel whose clients’ cases were

transferred to the MDL had little alternative other than to enter into the




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Participation Agreement in order to competently represent their clients

whose cases were pending in the MDL proceeding.

   In the dispute giving rise to this appeal, neither side has been able to

locate any Participation Agreement signed by BCM. ER-82-83. The district

court found, in the ruling at issue on appeal, that BCM was bound by the

participation agreement as the result of BCM’s having served as a member

of Plaintiffs’ Steering Committee in this MDL proceeding. ER-44-45. For

purposes of this appeal, BCM does not dispute that its cases that were

pending in the MDL proceeding are properly subject to the attorneys’ fees

and costs assessments at issue. Rather, the sole question presented is

whether, based on the Participation Agreement and/or some other source

of authority, the district court had the power to order attorneys’ fees and

costs holdback assessments against cases never filed in any court, cases filed

in federal court after the MDL proceeding concluded, and cases filed in state

court in which BCM served as claimants’ counsel.

   By means of an order issued in May 2019, the district court increased the

attorneys’ fee share of the holdback, which is assessed against the fee of the

plaintiffs’ counsel, to eight percent. ER-132. The district court, however, kept

the costs holdback percentage at two percent. ER-132.


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   When the In re: Bard IVC Filters Prods. Liab. Litig. formally concluded in

May 2019, more than 8,000 separate cases had been a part of that MDL

proceeding. ER-43. As noted above, BCM represented the claimants in 201

of those MDL cases. ER-122. An additional 306 of BCM’s clients with IVC

filter injury claims against Bard never filed suit in any court, filed suit in

federal court after the MDL proceeding concluded, or filed suit in state court.

ER-122.

   In early November 2021, BCM, on behalf of its clients, reached a

settlement with C.R. Bard to resolve all IVC filter-related cases and claims

that BCM was handling against Bard. ER-122. The specific settlement

amounts of these cases are confidential pursuant to agreements between

BCM, its clients, and Bard. However, the total assessments that Bard is

paying into the MDL fees and costs holdback account with regard to clients

of BCM who had cases in the MDL proceeding totaled approximately 63

percent of the total assessment on BCM’s cases/clients. ER-41.

   This appeal concerns the remaining approximately 37 percent of total

holdbacks from clients of BCM who never filed suit in any court, who filed

suit in federal court after the MDL proceeding had closed, or who filed suit

in state court. ER-41. In non-MDL cases in which BCM represented the


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claimants, the total amount of money held back for costs from the clients’

share of their recoveries was itself far from insignificant, approaching the

mid-six figures.



   B. Relevant Factual History

   After the settlements of the IVC filter cases and claims for all participating

clients of BCM were documented and Bard was on the verge of paying ten

percent of the gross total of those settlements into the In re: Bard IVC Filters

Prods. Liab. Litig. MDL fees and costs assessment account under the

supervision of the U.S. District Court for the District of Arizona, BCM on

January 25, 2022 filed a motion in the MDL proceeding seeking to exempt

certain cases and claimants from those common benefit assessments. ER-110.

   For purposes relevant to this appeal, BCM, in reliance on Judge

Chhabria’s reasoning in In re Roundup Prods. Liab. Litig., 544 F. Supp. 3d 950

(N.D. Cal. 2021), asked the district court in this case to exempt the

settlements recovered by clients of BCM who never filed suit in any court,




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had filed suit in federal court after the MDL proceeding had concluded, and

had filed suit in state court.1 ER-110.

    The In re Bard IVC Filters Products Liability Litigation Common Benefit Fees

and Costs Committee filed a timely opposition to the motion of BCM to

exempt those categories of cases from common benefit fees and costs

assessments. ER-81.

    On May 20, 2022, after the motion had been fully briefed, the district

court, per Senior District Judge David G. Campbell, issued an order denying

the motion to exempt the recoveries of BCM’s clients who did not have cases

pending in the MDL proceeding from common benefit fees and costs

assessments. ER-43-67.

    The district court’s 25-page order explaining the basis for its denial of

BCM’s motion to exempt began by explaining that Judge Chhabria’s

decision in Roundup was distinguishable. ER-46-51. Next, the district court

concluded that it had the authority to impose holdbacks on the recoveries of




1  BCM’s motion also sought to reduce the attorneys’ fee assessments on
cases that had been a part of the MDL proceeding to reflect the substantial
additional work that BCM performed in those cases to maximize their value.
ER-118-120. The district court also denied this relief, ER-65-67, and BCM is
not seeking appellate review of that aspect of the district court’s ruling.


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all clients of the Martin law firms with IVC filter claims against Bard

pursuant to the district court’s inherent power and the common fund

doctrine. ER-52-64. Lastly, the district court concluded that reliance-related

concerns also compelled the denial of the Martin law firms’ motion to

exempt:

           The PSC and other attorneys who performed compensable
           common benefit work justifiably relied on Participating
           Counsel’s agreement to pay common benefit assessments on all
           cases in which Participating Counsel have a fee interest. Now,
           more than six years after BCM agreed to pay assessments on all
           its cases in return for access to common benefit work, and after
           obtaining and utilizing that work, BCM seeks to avoid paying
           assessments on its non-MDL cases. Doc. 22144 at 1-2, 11. Simple
           fairness requires that its request be denied.

ER-64-65 (footnotes omitted).

  On June 6, 2022, BCM filed a timely notice of appeal to this Court from

the district court’s May 20, 2022 order denying the motion to exempt the

recoveries of certain of BCM’s clients from common benefit fees and costs

assessments. ER-168.

  Also on June 6, 2022, BCM filed in the district court an emergency motion

to stay distribution of the challenged fees and costs assessment holdbacks

pending appeal. ER-38. After that motion was fully briefed and the district

court heard oral argument on it, Judge Campbell on August 1, 2022 issued


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an order nominally denying the motion for a stay while simultaneously

directing that the challenged fees and costs assessment holdbacks be

retained in the common fund account pending the outcome of BCM’s appeal

in this matter. ER-5-9.



SUMMARY OF THE ARGUMENT

   This Court should hold — in accordance with Judge Chhabria’s recent

ruling in In re Roundup Prods. Liab. Litig., 544 F. Supp. 3d 950 (N.D. Cal. 2021),

the Eighth Circuit’s ruling in In re Genetically Modified Rice Litig., 764 F.3d

864, 874 (8th Cir. 2014), and this Court’s earlier rulings in Hartland v. Alaska

Airlines, 544 F.2d 992, 1001 (9th Cir. 1976), and Vincent v. Hughes Air West,

Inc., 557 F.2d 759, 765-66 (9th Cir. 1977) — that a federal district court

supervising an MDL proceeding lacks the judicial power to order attorneys’

fees and costs holdbacks pertaining to claims and cases that were never part

of the MDL proceeding.

   In this case, the MDL court exceeded its lawful judicial power when it

ordered that common benefit attorneys’ fees and costs holdbacks should

apply to the settlement recoveries obtained by clients of the BCM law firms,

movants-appellants herein, who had never filed suit in any court, who had


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filed suit in federal court after the MDL proceeding had closed, or who had

filed suit in state court, where the case remained at the time it settled.

   BCM does not dispute that MDL courts have the power to impose

attorneys’ fees and costs holdback assessments to compensate for work

performed for the common benefit in cases that were a part of the MDL

proceeding. In this MDL proceeding alone, the holdbacks imposed on the

recoveries of BCM’s clients who had cases pending in the MDL proceeding

totaled a very sizeable amount of money, none of which BCM is challenging

by means of this appeal.

   As Judge Chhabria recognized in In re Roundup, there are limits on a

federal district court’s judicial authority to impose attorneys’ fees and costs

holdbacks to fund common benefit work in an MDL proceeding, and those

limits preclude an MDL court from imposing such holdbacks on claims and

cases that were not part of the MDL proceeding. Neither a federal district

court’s inherent power nor the common fund doctrine authorized the

assessment of holdbacks on claims and cases that were not part of the MDL

proceeding, notwithstanding the district court’s erroneous conclusion to the

contrary in this case.




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   For the reasons set forth herein, this Court should reverse the district

court’s order holding that common benefit attorneys’ fees and costs

assessments could lawfully be applied against the recoveries that BCM

achieved for its clients on claims and cases that were never filed in any court,

were filed in federal court after the MDL closed, or were filed in state court

— and thus were never a part of this MDL proceeding.



ARGUMENT

   A. Standard Of Review

   This Court exercises de novo review over challenges to a district court’s

exercise of subject matter jurisdiction, personal jurisdiction, and judicial

power more generally. See County of San Mateo v. Chevron Corp., 32 F.4th 733,

746 (9th Cir. 2022) (“We review questions of . . . subject matter jurisdiction

de novo.”); Hicks v. Small, 69 F.3d 967, 969 (9th Cir. 1995) (“The existence of

subject matter jurisdiction is a question of law reviewed de novo.”); see also

Axiom Foods, Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064, 1067 (9th Cir. 2017)

(internal quotations omitted) (“We review de novo [a] district court’s

determination of whether personal jurisdiction may be properly




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exercised.”); Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th

Cir. 2004) (same).



   B. A Federal District Court Presiding Over An MDL Proceeding Lacks
      The Power To Order Attorneys’ Fees And Costs Holdbacks On
      Claims And Cases That Were Never Part Of The MDL Proceeding

   It is axiomatic that federal courts are courts of limited jurisdiction. See

Negrete v. City of Oakland, 46 F.4th 811, 816 (9th Cir. 2022) (citing Kokkonen v.

Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994)). Unless a federal district

court has subject matter jurisdiction over a case and personal jurisdiction

over the parties to that case, the federal district court lacks the judicial power

to issue orders that are binding on the parties to the case.

   This appeal involves cases that were never filed in any court, cases

pending in state court that were never a part of a federal court MDL

proceeding, and cases filed in federal court after the MDL proceeding closed

(which therefore, by definition, also were never a part of the MDL

proceeding).

   The order at issue on appeal assesses a two percent holdback against the

claimants’ recovery — not from BCM’s share of its counsel fees — for MDL

common fund costs on claims that have never been filed in any court, cases


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that were filed in federal court after the MDL closed, and cases that were

filed in state court. How the MDL court possesses judicial power over those

claims or the claimants who possess those claims neither appellees nor the

district court have ever satisfactorily explained.

   To be sure, the district court possessed authority over BCM in its role as

counsel in the cases in which BCM was representing claimants with cases in

the MDL proceeding. And that authority, BCM concedes, was sufficient to

empower the district court to order common benefit attorneys’ fees

holdbacks from BCM’s share of counsel fees in cases in which BCM

represented claimants in the MDL proceeding.

   However, the power that the district court determined it could exercise

against BCM was far more wide-ranging than that. The district court

concluded that it had the authority to control and direct the disposition of a

portion of the recoveries that claimants represented by BCM achieved

outside of the MDL proceeding — recoveries obtained by claimants who had

never filed suit in any court, who had filed suit only in state court, or who

had filed suit in federal court after the MDL proceeding had closed.

   BCM respectfully submits that whatever jurisdiction and power the

district court possessed over BCM’s attorneys’ fee recoveries on claims


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against C.R. Bard were limited to those cases in which BCM represented

claimants in the MDL proceeding itself. To the extent that the district court

reached beyond BCM’s fee recoveries in MDL cases, the district court

exceeded its jurisdiction and acted beyond its lawful power.

   Two hypotheticals help illustrate this point. Assume that a BCM attorney

was accompanying a client in Pennsylvania who had a claim pending in

Pennsylvania state court against C.R. Bard to the client’s deposition in

Pennsylvania when the automobile operated by the BCM attorney was

involved in a car accident, in which the client was injured. If that state court

client opted to sue BCM — a law firm incorporated in Texas, which has its

principal place of business in Texas — in Arizona federal district court

because of BCM’s involvement as counsel for other claimants in the C.R.

Bard MDL based in that same federal district court, would the Arizona

federal district court have personal jurisdiction over BCM? The answer

would self-evidently appear to be emphatically “no.”

   Consider instead that the BCM client in the Pennsylvania state court case

against C.R. Bard had her claim presented at trial but was dissatisfied with

the amount of the jury’s verdict in her favor. Could that client then sue BCM

in Arizona federal district court for legal malpractice or breach of contract


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seeking to reduce BCM’s contingent fee recovery in that state court case?

Once again, the answer would appear to emphatically be “no,” because the

MDL court simply has no authority to adjudicate or reduce the amount of

BCM’s fee in a case that was never pending in the MDL proceeding. Yet the

MDL court is exercising just that same type of unavailable power in the order

that is the subject of this appeal by directing the disposition of a portion of

BCM’s fees in cases that were never pending in the MDL proceeding.

   In this case, the MDL district court ruled that because BCM was deemed

to have entered into the Participation Agreement, whereby “[c]ounsel who

sign this Participation Agreement further agree that the assessment shall

apply to all un-filed cases, tolled cases, and/or cases filed in state court in

which they have a fee interest, regardless of the size of that fee interest” (ER-

149), that court had the jurisdiction and authority to assess common benefit

attorneys’ fees and costs against all such cases as the result of its authority

over BCM as a deemed signatory to that agreement. ER-43-67.

   Whether authority over counsel for MDL claimants suffices, or whether

the MDL court also must possess jurisdiction over the claimants whose

recoveries are being allocated, is at the heart of the circuit split that exists

over the question presented in this appeal.


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   In In re Genetically Modified Rice Litig., 764 F.3d 864, 874 (8th Cir. 2014), the

Eighth Circuit ruled that the MDL statute does not give an MDL court “the

power to order parties in a case not before it to contribute to the Fund.” In

support of its holding in that regard, the Eighth Circuit cited to this Court’s

decision in Hartland v. Alaska Airlines, 544 F.2d 922, 1001 (9th Cir. 1976), and

the Fourth Circuit’s ruling in In re Showa Denko K.K. L-Tryptophan Prods. Liab.

Litig., 953 F.2d 162, 166 (4th Cir. 1992).

   The Eighth Circuit proceeded to explain, in reasoning that applies directly

to BCM’s appeal herein:

               Lead Counsel argue that the assessments need not be levied
            on the state-court plaintiffs themselves, but rather may be
            withheld by Bayer (a party before the district court) or paid by
            the plaintiffs’ counsel (some of whom represent clients in the
            MDL). Lead Counsel assert that the court has jurisdiction over
            Bayer and MDL attorneys, so the court can order withholding
            from their “related” state-court cases. But state-court cases,
            related or not, are not before the district court. The state-court
            plaintiffs at issue neither agreed to be part of the federal MDL
            nor participated in the MDL Settlement Agreement. Even if the
            state plaintiffs’ attorneys participated in the MDL, the district
            court overseeing the MDL does not have authority over separate
            disputes between state-court plaintiffs and Bayer.

               Lead Counsel also urge that the state-court plaintiffs’ counsel
            benefited from the MDL leadership group’s work, so equity
            requires that they contribute to the Fund. But equity is
            insufficient to overcome limitations on federal jurisdiction. The



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             district court correctly held that it lacked jurisdiction to order
             holdbacks from the state-court recoveries.

In re Genetically Modified Rice Litig., 764 F.3d at 874.

   On the other side of the circuit split are two unpublished, non-

precedential rulings of the U.S. Court of Appeals for the Third Circuit. The

more pertinent of the two rulings, which both arose from the same MDL

proceeding, is In re Avandia Mktg., Sales Practices and Prods. Liab. Litig., 617 F.

App’x 136 (3d Cir. 2015) (unpublished). In that case, the now notorious law

firm of Girardi Keese had entered into a participation agreement whereby a

seven percent common benefit assessment — consisting of four percent from

the attorney’s share and three percent from the claimant’s share — would

apply to all of the law firm’s related cases, whether filed or unfiled, in any

other jurisdiction, state or federal. See id. at 139.

   Girardi Keese represented approximately 25 claimants in the MDL

proceeding itself but also handled thousands of related cases in a

consolidated California state court proceeding involving Avandia. See id.

The Third Circuit ruled that because the MDL court had authority over the

Girardi Keese law firm, that was sufficient to order that the holdback




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payments be made on all of that law firm’s related cases, even those that

were never pending in the MDL proceeding:

              [Because] the District Court incorporated Girardi Keese’s
              Attorney Participation Agreement into Pretrial Order 70, it had
              jurisdiction to determine whether Girardi Keese breached that
              agreement and, if so, to remedy that breach.

Id. at 142.

   The Third Circuit rejected Girardi Keese’s jurisdictional challenge as

follows:

                 This is not, as Girardi Keese argues, finding subject-matter
              jurisdiction by agreement of the parties. The agreement itself is
              not the source of the District Court’s authority. Rather, the
              District Court’s authority over this dispute arose from its
              responsibilities to appoint and supervise a coordinating
              committee of counsel. The agreement was simply incorporated
              into an order the District Court was empowered to issue.

                 Because it was within the District Court’s power to issue an
              order governing how to compensate the Steering Committee for
              its work and because Girardi Keese’s Attorney Participation
              Agreement was incorporated into that order, the District Court
              had jurisdiction to adjudicate whether Girardi Keese breached
              the Attorney Participation Agreement and thereby violated
              Pretrial Order 70.

Id. at 143-44 (footnotes omitted).

   In a footnote to its ruling, the Third Circuit opined that the Girardi Keese

law firm would be liable to pay the entire seven percent assessment, and



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whether that law firm could recover three percent of that assessment from

its clients, as the MDL court’s original order had envisioned, was a problem

for Girardi Keese to resolve on its own. Id. at 143 n.5.

   The central division between the Eighth Circuit’s approach in Genetically

Modified Rice and the Third Circuit’s approach in Avandia is over whether the

MDL court must have jurisdiction over the cases and claimants whose

recoveries are being held back or merely over the attorneys who represent

those claimants.

   It is therefore quite revealing that this Court employed a claimant-centric,

rather than an attorney-centric, approach in two cases raising similar issues.

In Hartland v. Alaska Airlines, 544 F.2d 992, 1001 (9th Cir. 1976), this Court

issued a writ of mandamus to overturn a federal district court’s order

imposing common fund fee holdbacks on claimants who either had a case

pending in state court or had not filed any case in any court. A little over one

year later, in Vincent v. Hughes Air West, Inc., 557 F.2d 759, 765-66 (9th Cir.

1977), this Court once again confirmed that a claimant who settles a case

without having filed suit in any jurisdiction cannot be required to contribute

to common fund work.




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   To be sure, neither of those two Ninth Circuit decisions involved either

counsel who represented clients both within and outside of an MDL

proceeding, nor did counsel in those earlier cases sign anything resembling

a participation agreement pertaining to cases outside of an MDL proceeding.

Nevertheless, Hartland and Vincent demonstrate that this Court has

previously employed a claimant-centric, rather than an attorney-centric,

approach to determining when common benefit holdbacks can lawfully be

ordered.

   As Judge Chhabria explained when considering this Court’s rulings in

Hartland and Vincent in his recent opinion in In re Roundup, 544 F. Supp. 3d

at 964-65:

                To be sure, it’s not immediately apparent whether the people
             who won their appeals in Hartland and Vincent had hired
             lawyers who also happened to represent clients in the MDL. But
             there is no reason to think that the presence of so tenuous a
             connection between those nonparties and the MDL proceedings
             would have changed the Ninth Circuit’s views about the
             “usurpation of power” that the district courts had committed.
             The fundamental problem with lead counsel’s argument is that
             they are thinking too much in terms of the lawyers, and not
             enough in terms of the clients. The lawyers may think of the
             recoveries as “their” recoveries — recoveries that come from
             their “inventory.” But that “inventory” consists of people, and
             each person has their own case against the defendant. Authority
             over a person’s case (and a person’s recovery) cannot be created



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            simply because that person’s lawyer happens to have another
            case before the district court.

Id. (footnote omitted).

    In Roundup, Judge Chhabria ultimately decided that he would only order

holdbacks from cases that were a part of the MDL proceeding, because,

among other reasons, it was questionable whether he had the authority to

extend holdbacks to claimants who had never filed a case in any court or

who had cases pending in state court.2

    BCM respectfully urges this Court to hold, for the reasons set forth above,

that an MDL court lacks the authority to order holdbacks pertaining to cases

that were not a part of the MDL proceeding, regardless of whether the

claimants in the non-MDL cases were represented by counsel who also

represented claimants in the MDL proceeding and thus signed (or, as in this

case, was deemed to have signed) a participation agreement.




2  Judge Chhabria’s decision in Roundup did not address whether holdbacks
can or should apply to cases filed in federal court after an MDL proceeding
has closed, because no such cases were before him. But the logic of Judge
Chhabria’s decision compels the conclusion that he would not have ordered
holdbacks applied to such cases.


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   C. The Reasons The District Court Gave For Applying Common
      Benefit Holdbacks To Claims And Cases That Were Never Part Of
      The MDL Proceeding Fail To Withstand Scrutiny

   The district court, in holding that it had the power to impose common

benefit assessments on claimants and cases that were never a part of the

MDL proceeding, relied both on that court’s inherent power and on the

common fund doctrine. ER-52-64.

   First, however, the district court in this matter agreed with Judge

Chhabria’s decision in Roundup that “the MDL statute is procedural in

nature and does not clearly confer on federal courts the power to create a

common benefit fund or make assessments for that fund.” ER-52. BCM

agrees with the district court’s determination in this regard.

   Immediately thereafter, however, the district court in this matter ruled

that its “inherent managerial power” gave it the authority to enter a case

management order imposing common benefit assessments on unfiled and

state court cases. ER-54-55.

   BCM submits that Judge Chhabria reached a much more legally sound

conclusion with regard to the inherent power issue when he reasoned in

Roundup as follows:




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                The next question is whether the Court has the authority to
            require holdbacks from the recoveries of people who are not
            plaintiffs in the MDL but who happened to hire a lawyer with a
            client in the MDL. This could include someone who filed a
            lawsuit in state court and recovered from Monsanto following a
            judgment or settlement, and it could include someone who filed
            no lawsuit and settled out of court. The answer is that a district
            court cannot exert authority over the recovery of a person with
            so tenuous a connection to the MDL. Neither the common fund
            doctrine nor the district court’s inherent power to control its
            docket justifies an order affecting the recovery of a nonparty
            merely because they happened to hire a lawyer with a client in
            the MDL.

In re Roundup, 544 F. Supp. 3d at 963.

   Judge Chhabria continued:

               If one understands the power to order holdbacks as coming
            from the inherent docket management authority, it becomes
            even more obvious that a district court lacks the authority to
            apply holdbacks to a dispute outside the MDL merely because
            the plaintiff in that dispute happened to hire a lawyer who
            represents a plaintiff within the MDL. Under this doctrine,
            district courts merely have the power to manage their dockets,
            and the purpose of this power is the efficient and expedient
            resolution of cases. It’s one thing to require holdbacks in your
            own cases for the purpose of ensuring those cases are litigated
            and adjudicated properly; it’s quite another to insist that you
            need to manage your docket by issuing orders affecting disputes
            that are not before you.

Id. at 963-64 (internal quotations and citations omitted).

   Lastly, Judge Chhabria concluded that “[i]t would stretch the [inherent]

power [doctrine] beyond recognition to say that it authorizes MDL courts to


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order appearing attorneys to contribute from their contingency fees from

non-MDL recoveries to compensate lead counsel.” Id. at 967.

   In short, an MDL court’s inherent power to manage the consolidated

cases pending before it does not extend to those cases that were never filed

in any court, were filed in state court, or were filed in federal court after the

MDL proceeding closed. Thus, the district court’s reliance on its inherent

power as authorizing the wide-ranging nature of its holdback order in this

case was without merit.

   The district court herein also relied on the common fund doctrine as

authorizing the application of its holdback order to cases that were never a

part of this MDL proceeding, noting that the common fund doctrine “has

been applied repeatedly to MDL cases.” ER-62. Once again, BCM

respectfully submits that Judge Chhabria had the better part of this

argument when he reasoned in Roundup as follows:

            As discussed earlier, the connection between the common fund
            doctrine and the type of holdback order contemplated here is
            tenuous at best. If it’s tenable at all, it’s because one similarity
            persists among many differences: the transaction takes place
            within the case itself. In the common fund cases, the district court
            is awarding money from a fund that is part of the case to a
            plaintiff who is part of the case. If the holdback order were
            extended to the recoveries of parties in state court or parties with
            no case at all, any plausible support from the common fund


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            doctrine disappears entirely — the court is exercising authority
            over disputes that are not before it and over property that is not
            before it, without any clear limit on the court’s reach.

In re Roundup, 544 F. Supp. 3d at 963.

   Lastly, Judge Chhabria also had it right when he decided that the mere

fact that the non-party’s attorney signed a participation agreement in the

MDL proceeding cannot suffice to confer the requisite lawful power on an

MDL court to assess common benefit fees and costs against cases and claims

that were never part of the MDL proceeding:

               As discussed in the preceding subsection, the Eighth Circuit
            and the Ninth Circuit may have considered a district court’s
            authority to order holdbacks from the recoveries of nonparties
            to be an issue of subject matter jurisdiction. In re Genetically
            Modified Rice Litigation, 764 F.3d at 874; Vincent, 557 F.2d at 765-
            66; Hartland, 544 F.2d at 1001. If that’s the right way to interpret
            those cases, district courts in those circuits lack the power to
            require a holdback from nonparties whose lawyers signed an
            agreement that they would be bound by a holdback order,
            because parties cannot agree to confer subject matter jurisdiction
            where none exists.

Id. at 967. Although Judge Chhabria ultimately concluded that “there is no

need in this ruling to take a position on whether an MDL court has the

authority to require a holdback from a nonparty’s recovery as a result of a

lawyer participation agreement,” id. at 968, the reasoning quoted above

provides persuasive indication of how Judge Chhabria would have resolved


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that issue had the need presented itself. He would have concluded, as BCM

has argued herein, that a federal district court lacks the power to apply

common benefit fees and costs assessment holdbacks against cases that were

never a part of the MDL proceeding. And that is precisely what this Court

should hold in this appeal.



   D. Equitable Considerations Do Not Justify Affirming The District
      Court’s Order Imposing Holdbacks On Cases Never Pending Before
      The MDL Court

   The Common Benefit Fees and Costs Committee also raised equitable

arguments in the district court that led the district court to conclude that it

would be unfair to hold that it lacked the power to order assessments against

the cases and claims of BCM clients that were never a part of the MDL

proceeding. In concluding that equity supported its result, the district court

erred. ER-64, ER-89.

   To begin with, as Judge Chhabria noted in his Roundup opinion, 544 F.

Supp. 3d at 959-60, the U.S. Supreme Court’s decision in Grupo Mexicano de

Desarrollo S.A. v. Alliance Bond Fund, Inc., 527 U.S. 308, 333 (1999), recognized

that district courts cannot exercise their equitable powers beyond situations

where courts have historically invoked them, even if some of the same


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principles apply to the new situation. BCM is unaware of any longstanding,

historical basis for a court’s using its equitable power to enjoin or direct the

distribution of funds earmarked for the settlement of cases and claims that

were pending in other courts or not pending in any court. This absence of

historical pedigree establishes the unavailability of equity to impose such a

remedy here.

   In opposing BCM’s motion, the Common Benefit Fees and Costs

Committee also hypothesized about the injustice that would result if an

attorney somehow arranged to have only a single case in an MDL

proceeding, thereby entitling him or her to access common benefit work

product, which the attorney could then exploit free of charge for the benefit

of countless other clients who had cases pending in state court or claims

never filed in any court. ER-88. That hypothetical is certainly not this case.

   As noted above, the total assessments that Bard is paying into the MDL

fees and costs holdback account with regard to clients of BCM who had cases

in the MDL proceeding totaled approximately 63 percent of the total

assessment on BCM’s cases/clients. ER-41.

   This appeal, of course, concerns the remaining approximately 37 percent

of total holdbacks from clients of BCM who never filed suit in any court, who


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filed suit in federal court after the MDL proceeding had closed, or who filed

suit in state court. In non-MDL cases in which BCM represented the

claimants, the total amount of money held back for costs from the clients’

share of their recoveries was itself far from insignificant, approaching the

mid-six figures.

   BCM represented claimants in 201 MDL cases, while an additional 306 of

BCM’s clients with IVC filter injury claims against Bard never filed suit in

any court, filed suit in federal court after the MDL proceeding closed, or filed

suit in state court. ER-122. Thus, the average per-case recovery was far

higher for BCM clients who were part of the MDL proceeding than for those

who were not. Had those average per-case settlement amounts remained

constant, it would have been far preferable for both BCM’s clients and for

BCM itself to have had as many cases as possible settle within the MDL

proceeding, notwithstanding the 10% fees and costs assessments that would

have been applicable to those MDL cases.

   A final concern that the district court raised asked how federal courts

overseeing MDL proceedings can ensure that highly qualified counsel

would volunteer to perform common benefit work if the MDL court lacks

the power to ensure adequate compensation for that work. ER-55. Moreover,


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in this case the Committee contends that it may not ever achieve the

compensation anticipated for common benefit work even if the challenged

assessments at issue here are upheld. ER-50.

   BCM respectfully submits that these concerns are overblown. As Judge

Chhabria’s opinion explains, there are a variety of ways that those who

create common benefit work can be compensated without having to extend

beyond proper bounds the power of an MDL court to apply fees and costs

assessments to claims and cases not pending before it. See In re Roundup, 544

F. Supp. 3d at 966, 968. Moreover, it is quite doubtful that MDL proceedings

within the Eighth Circuit have failed to attract highly qualified lead counsel

in the aftermath of the Genetically Modified Rice decision in which the Eighth

Circuit recognized that common benefit assessments can only be applied

against cases pending in an MDL proceeding.

  It was inappropriate for the district court in this matter to cite to reliance

interests, ER-64-65, as a possible justification for expanding an MDL court’s

power beyond lawful limits. Some MDL proceedings are successful and

some are not. Indeed, whether BCM itself recovered in counsel fees what it

was hoping to achieve on the claims it was handling against C.R. Bard

appears nowhere in the record. It may be the case that BCM is equally or


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perhaps even more disappointed with the results achieved in its cases as the

Common Benefit Fees and Costs Committee feels toward its likely

compensation for common benefit work. As with any type of law practice,

contingent fee litigation has its own variety of risks and benefits, and anyone

practicing in this field well knows that not every single case will be a

smashing success.

   In sum, if lead counsel in Roundup were so successful in that case that they

may now qualify to purchase their own private island, see Roundup, 544 F.

Supp. 3d at 969, while the attorneys in charge of common benefit work in

this case are not, ER-50, that disparity in results is surely not the fault of BCM

or its clients. And it certainly does not justify disregarding otherwise

applicable limits on the power and authority of an MDL court to order fees

and costs assessments on cases that were never filed in any court, were filed

in state court, or were filed in federal court after the MDL proceeding closed.




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CONCLUSION

  For the foregoing reasons, this Court should reverse the district court’s

order and hold that the district court lacked the power to impose common

benefit attorneys’ fee and costs holdbacks on the settlement recoveries from

C.R. Bard of BCM’s clients who never filed suit in any court, who filed suit

in state court, and who filed suit in federal court after the MDL proceeding

closed.



                                        Respectfully submitted,


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                    STATEMENT OF RELATED CASES

   In accordance with Ninth Circuit Rule 28-2.6, movants/appellants herein

note that this appeal raises an issue that is related to the issues in an appeal

currently pending before this Court captioned In re Roundup Prods. Liab.

Litig., No. 21-16228 (9th Cir.). The Roundup appeal has been fully briefed and

is scheduled for oral argument before a three-judge panel of this Court in

Portland, Oregon on October 20, 2022.



                                         Respectfully submitted,



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      CERTIFICATION OF COMPLIANCE WITH TYPE-VOLUME
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                                        Howard J. Bashman
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                       CERTIFICATE OF SERVICE

  I hereby certify that I electronically filed the foregoing with the Clerk of

the Court for the United States Court of Appeals for the Ninth Circuit by

using the appellate CM/ECF system on October 17, 2022.

  I certify that all participants in the case are registered CM/ECF users and

that service will be accomplished by the appellate CM/ECF system.



Dated: October 17, 2022                    /s/ Howard J. Bashman
                                           Howard J. Bashman
